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                              Case 2:19-cv-05539-RBS
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JS 44 (Rev 02/19)                                                  ·t;               civ1L,covERSHEET                                                                  I q-cv- SS3q
The JS 44 CIVll cover sheet and the mfo                            e,!i ~e)'em neither ;b1ace nor supplement the filmg and service ofpleadm!!s or other papers as requrred by law, except as
provided by local rules of court This fo                           y<Ufe Jud1cral Conference of the Vmted States m September 1974, 1s requrred for the use of the Clerk of Court for the
purpose of 1D1hatmg the c,1 Jpcket sheet                      INSTRUCTIONS ON NEXit PAGE OF THIS FORM)

I. (a) PLAINTIFFS                  .                                                                                             DEFENDANTS
       DANIEL SWA~SON', ind1Vidually and on beh                                                                                  A..'11.,TENNA STAR SATELLITES, INC d/b/a COLONIAL
         similarly situated,                                                                                                     SMART HOME SERVICES,
     (b) County of Residence ofFrrst Listed PlamtJff                                                                             County of Residence of Frrst Listed Defendant
                                 (EXCEPT IN U.S PLAINTIFF CASE                   0                                                                     (IN US PLAINTlFF CASES ONLY)
                                                                                                                                 NOTE.     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                           THE TRACT OF LAND INVOLVED


   (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                      Attorneys (If Kllow11)
       BROWN, LLC
       111 Town Square ace, mte 400
       Jerse Cit , NJ 07 10, (8 7) 561-0000
II. BASIS OF JURIS                                                                                             ill. CITIZENSffiP OF PRil'JCIPAL PARTIES{Placean "X"tnO11eBoxforPlat11ttff
                                                                                                                          (For Dtversity Cases Only)                                             and One Box for Defendant)
:J I    U S Government                                                                                                                             PTF            DEF                                           PTF      DEF
          Plamllff                                 (US Government Not a Party)                                       C111zen ofThts State            I  •         :J    I    Incorporated or Pnnc1pal Place       :J 4   n4
                                                                                                                                                                               ofBusiness In Thts State

:J 2 U .S Government                             D1verstty                                                           C111zen of Another State           •   2     •     2    Incorporated and Pnnc1pal Place       CJ 5    •    5
           Defendant                              (Indicate Citizenship of Parties tn Item III)                                                                                 ofBusmess In Another State

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IV. NATL'RE OF SUIT (Place an                      "X" in One Box Only)
               N       C                                         TO
:J   110 Insurance                          PERSONAL INJURY                      PERSONAL INJURY                     :J 625 Drug Related Seizure            :J 422 Appeal 28 use I 58           •   375 False ClatmS Act
:J   120 Manne                        :J 310 Atrplane                      :J 365 Personal Injury •                        of Property 21     use 881       n 423 Withdrawal                    :J 376 Qw Tam (31 USC
:J   130 Miller Act                   :J 315 Atrplane Product                               Product L1ab1hty         :J 6900ther                                   28 t:SC 157                          3729(a))
:J   140 Negotlable Instrument                   L1ab1hty                  :J 367 Health Caret                                                                                                  :J 400 State Reapportlonment
CJ   150 Recovery of Overpayment      :J    320 Assault, Libel &                  Pharmaceutical                                                                     p        RI                :J 410 Antitrust
          & Enforcement of Judgment              Slander                          Personal Injury                                                           :J 820 Copynghts                    n 430 Banlcs and Bankmg
•    IS I Medicare Act                n     330 Federal Employers'                Product Ltab1!tty                                                         :J 8.30 Patent                      :J 450 Commerce
:J   152 Recovery of Defaulted                   L1abihty                  n 368 Asbestos Pers                                                              :J 83 5 Patent · Abbrevtated       •   460 Deportatton
          Student Loans               :J    340 Manne                             lnJury Product                                                                  New Drug Apphcallon          cJ 470 Racketeer Influenced and
          (Excludes Veterans)         ('J   345 Marine Product                    L1abthty                                                                  n 840 Trademark                            Corrupt Organ1zattons
n    153 Recovery of Overpayment                 L1ab1hty                    PERSONAL PROPE                                              OR                                                    ::J 480 Consumer Credit
          of Veteran's Benefits       •     350 Motor Vehicle              :J 370 Other Fraud                                   arr Labor Standacds         •    861 HIA (1395ft)              • 485 Telephone Consumer
:J   160 Stockholders' Suits          :J    355 Motor Vehicle              :J 371 Truth Ill Lending                             Act                         :J   862 Black Lung (92.3)                 Protection Act
n    190 Other Contract                         Product L1abthty           n 380 Other Personal                      n     72 Labor/Management              :J   863 DIWC/DIWW (405(g))        n 490 Cable/Sat TV
:J   195 Contract Product Liab1ltty   :J    360 Other Personal                    Property Damage                               Relations                   :J   864 SSID Title XVI            cJ 850 Secunttes/Commod1t1esl
:J   196 Franchise                              Injury                     :J 385 Property Damage                           40 Radway Labor Act             :J   865 RSI (405(g))                      Exchange
                                      '.J   362 Personal Injury ·                 Product L1ab1hty                   :J    751 Family and MedJ.cal                                             :J 890 Other Statuto,y Acttons
                                                Medical Mal       e                                                             Leave Act                                                      :J 891 Agncultural Acts
       REAL PROPERTY                                 RIGHTS                  PRISONER PETITIONS                      :J    790 Other Labor L1ttgat1on            FEDERAL TAX SUITS             :J 893 Environmental Matters
n 210 Land Condemnallon               :J 440 Other CiVII Rights                  Habeas Corp11s:                     '.J   791 Employee Retirement          :J 870 Taxes (U .S Plamttff        :J 895 Freedom oflnformatton
:J 220 Foreclosure                    :J 441 Vot1ng                        :J    463 Aben Detamee                              Income Secunty Act                  or Defendant)                       Act
:J 230 Rent Lease & Ejectment         :J 442 Employment                    0     510 Mollons to Vacate                                                      cl 871 IRS- Thtrd Party            :J 896 Arbttrallon
:J 240 Torts to Land                  :J 443 Housmgt                                  Sentence                                                                     26 USC 7609                 • 899 Admtmstrallve Procedure
n 245 Tort Product L1ab1hty                  Accommodations                :J    5 30 General                                                                                                          Act/Revtew or Appeal of
:J 290 All Other Real Property        :J 445 Amer w/D1sabd1t1es •          n     535 Death Penalty                          IMMIGRATION                                                                Agency DectS1on
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                                      '1 446 Amer w/D1sabiht1es •          ::J   540 Mandamus & Other                n 465 Other Immigration                                                           State Statutes
                                             Other                         :J    550 CIVll Rights                          Actions
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                                                                                                                                                        §201 et        seq
VII. REQl:ESTED IN                                                                                                                                                      CHECK YES only 1f de
     COMPLAINT:                                                                                                                                                         JURY DEMAND:
VIII. RELATED CASE(S)
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                                                2:19-cv-05539-RBS Document 1 Filed 11/25/19 Page 2 of 24
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                                                                              UNITED STATES DISTRICT COURT
                                                                   FORTHEEASTERNDISTRICTOFPENNSYLVA."llA                                                               5538
                                  ,~~            ~                                          DESIGNATION FORM
                                  to'-b?used by co'IJ.Ylsel or prose plaintiff to 1nd1cate the category of the case for the purpose ofassignment to the appropnate calendar)
    "'\'ll
      \ii(
    -   ...ll Address of Plaintiff: 887 Wh1teStreet, Stroudsburg, PA_l8_3_6_0_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             Address of Defendant: 20 l W Church Road Smte 300 Kmg of Prussia, PA 19046

             Place of Accident, Incident or Transaction: _Kt_n_,g.__of_P_r_u_s_s1_a_,P_A
                                                                                       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



             REUTED CA.SE, IF A.NY:

             Case Number: _ _ _ _ _ n/_a______                               Judge: _ _ _ _ _ _n_/_a_ _ _ _ _ __                          Date Termmated:

             Civil cases are deemed related when Yes 1s answered to any of the followmg questions:

             1.     Is this case related to property included in an earlier numbered smt pendmg or within one year                           YesD                   No[2]
                    previously termmated action m thts court?

             2.     Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor smt                           YesD                   No[2]
                    pendmg or wtthm one year previously terminated action in thts court?

             3      Does thts case mvolve the valtdtty or infnngement of a patent already m suit or any earlter                              YesO                   No [2]


                                                                                                                                                   •
                    numbered case pending or wtthm one year prevtously termmated action ofth1s court?

             4      Is thts case a second or successive habeas corpus, Qsecunty appeal, or pro se civil nghts
                    case filed by the same mdtvidual?
                                                                                                                                             Yes                    No   I✓ I
             I certify that, to my knowledge, the within case         O is / fi2( is not       related to any case now pending or within one year previously termmated actton m
             thts court except as noted above.                                             ~             A     ./
             DATE                        11/22/19                                                1
                                                                                               If./, u,(~re
                                                                                      A/'6, ey-at-Law I Pro Se Plaintiff
                                                                                                                                                            PABar#79_36_9_ _ _ _ __
                                                                                                                                                        Attorney ID   # (if applicable)



             CIVIL: (Place 11 ✓ In one category only)

             A.           Feder11/ Question C11Ses:                                                      B.     Diversity Jurisdiction Cues:

             •• 2.  1   Indemmty Contract, Marme Contract, and All Other Contracts
                        FELA                                                                 2
                                                                                                          ••
                                                                                             1. Insurance Contract and Other Contracts
                                                                                                Airplane Personal Injury
             • 43       Jones Act-Pei;sonal Injury                                           3
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                                                                                                Assault, Defamation
             • 5.       Antitrust
                                                                                                        ••
                                                                                             4 Marme Personal Injury

             B 76.      Patent
                        Labor-Management Relations
                                                                                             5. Motor Vehicle Personal Injury
                                                                                             6
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                                                                                                Other Personal Injury (Please specify)
             • 8.       Civil Rights                                                         7  Products L1ab1hty
             • 9.
                                                                                                         ••
                        Habeas Corpus                                                        8. Products L1ab1hty - Asbestos
                        Secunt1es Act(s) Cases                                               9. All other Diversity Cases
                    10 Social Security Review Cases                                             (Please specify)
                    11. All other Federal Question Cases
                        (Please specify) Fau Labor Standards Act C'FLSA")~9 CS C §201 and 29 CF R § 516



                                                                                         ARBITRATION CERTIFICATION
                                                               (The effect of this certification is to remove the case from eligib1lzty for arbitration.)

             I,                   Jason T Brown                 _ _, counsel of record or pro se plamttff, do hereby certify

                           Pursuant to Local CIVll Rule 53.2, § 3(c) (2), that to the best ofmy knowledge and beltef, the damages recoverable in thts civil action case
                           exceed the sum of $150,000 00 exclusive of mterest and costs:

                           Rehef other than monetary damages is sought.                                                                                        MO~ 25 20\9
             DATE                    11/22/19                                              1~hcable                                                         PA Bar #79369
                                                                                                                    ----                                                       -----
                                                                                      'Attorney-at-Law I Pro Se Plaintiff                               Attorney ID # (if applicable)

             NOTE A tnal de novo will be a tnal by Jury only 1fthere has been comphance with F.RC.P 38

             Civ 609 {512018)
                  Case 2:19-cv-05539-RBS Document 1 Filed 11/25/19 Page 3 of 24


\                                   IN THE L'"NJTED STATES DISTRICT COURT
                                 FOR THE EASTER~ DISTRICT OF PENNSYL VA.1"IA

                                 CASE MA.1\JAGEMENT TRACK DESIG~ATION FOR\1
    -,.
          DANIEL SW ANSON, individually and on                                        CIVIL ACTION
          behalf of others similarly situated,
                                   V.
          ANTENNA STAR SATELLITES, INC. d/b/a:
                                                            :
                                                                                               19          5539
          COLONIAL SMART HOME SERVICES,                                               t-,;O.

          In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
          plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
          filrng the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
          side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
          designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
          the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
          to which that defendant believes the case should be assigned.

          SELECT ONE OF THE FOLLOWING CASE MA.1\JAGEME.ST TRACKS:
          (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

          (b) Social Security - Cases requesting review of a decision of the Secretary of Health
              and Human Services denying plaintiff Social Security Benefits.                                 ( )

          (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

          (d) Asbestos - Cases involving claims for personal mjury or property damage from
              exposure to asbestos.                                                                          ( )

          (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
              commonly referred to as complex and that need special or intense management by
              the court. (See reverse side of this form for a detailed explanat10n of special
              management cases.)

          (f) Standard Management - Cases that do not fall into any one of the other tracks.



                      11/22/19           Jason T. Brown                                 Plaintiff
          Date                               Attorney-at-la                       Attorney for
                 (877) 561-0000                 (855) 582-5297                      jtb@jtblawgroup.com

          Telephone                          FAX '.'lumber                        E-Mail Address


          (Civ. 660) 10/02




                                                                                                     NOV 25 2019
       Case 2:19-cv-05539-RBS Document 1 Filed 11/25/19 Page 4 of 24




                           t;NITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 DANIEL SWANSON, individually and on
 behalf of others similarly situated,
                                                        Civil Case No.:
                Plaintiff,                                                   19           3539
 vs.

 ANTENNA STAR SATELLITES, INC.
 d/b/a COLONIAL SMART HOME
 SERVICES,

                Defendant.


        COLLECTIVE AND CLASS ACTION COMPLAINT WITH JURY DEMAND

       Plaintiff Daniel Swanson, individually and on behalf of all others similarly situated, by and

through his attorneys, Brown, LLC, hereby brings this Collective and Class Action Complaint

against Defendant Antenna Star Satellites, Inc. d/b/a Colonial Smart Home Services, alleges of his

own knowledge and conduct and upon information and belief as to all other matters, as follows:

                                       I~TRODt;CTION

       l.      Plaintiff brings this action for himself and all other similarly situated collective

members to recover unpaid overtime compensation, unpaid wages, liquidated damages, and

reasonable attorneys' fees and costs as a result of Defendant's willful violation of the Fair Labor

Standards Act ("FLSA"), 29 U.S.C. §201 et seq. and attendant regulations at 29 C.F.R. § 516 et

seq.

       2.      Plaintiff also brings this action for himself and on behalf of all other similarly

situated Rule 23 class members to recover unpaid overtime wages liquidated damages, pre- and

post-judgment interest, and reasonable attorneys' fees and costs as a result of Defendant's willful

violation of the Pennsylvania ;\,tinimum Wage Act, 43 P.S. § 333. l 01, et seq. ("PMW A") and
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attendant regulations, 34 Pa. Code § 231.1, et seq.

         3.     Defendant is a "home technology company that provides Television, Home Theater,

Audio, Video, Security, Lighting, Wifi, and connectivity to Google Home, Amazon and other

home automation products and services." 1

         4.     Plaintiff and the putative FLSA collective and Rule 23 class members were

installation technicians employed by Defendant to install and maintain Dish ~etwork Systems in

customers' homes.

         5.     Defendant improperly classified the installation technicians as independent

contractors to avoid compliance with the labor laws when the installation technicians in fact are

covered employees under the FLSA and PMWA.

         6.     In determining whether a worker is an employee or an independent contractor under

the FLSA, the Third Circuit has applied the "economic reality" test which identifies six (6) relevant

factors considered by the Supreme Court.       See Donovan v. Dialamerica Mktg., Inc., 757 F.2d

1376, 1384 (3d Cir. 1985).

         7.     Cnder the "economic reality" test, Defendant's installation technicians were

economically dependent on Defendant and not in business for themselves as ( 1) Defendant

exercised great control over the manner in which the installation technicians performed their work;

(2) the installation technicians did not exercise managerial skill that affected their opportunity for

profit or loss; (3) other than their own vehicle and tools and the company's supplies, the installation

technicians did not invest in equipment or materials, nor did they hire any helpers, relating to

performing the work; (4) the performance by the installation technicians did not require any special

skills; (5) the installation technicians continued to work for Defendant until they quit or were



1
    See Defendant's website: https://colonialsmarthome.com/ (last accessed November 4, 2019).


                                                  2
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terminated similar to an at-will employment arrangement; and (6) the installation technicians

performed installation and maintenance services integral to Defendant's satellite business.

       8.      The installation technicians were compensated primarily on a flat-rate basis by

completion of jobs regardless of how many hours they worked per week, plus small amounts of

commission pay from sales of any soundbars, television mounts, and Wifi routers, etc.

       9.      By and through this illegal scheme, Defendant failed to pay the installation

technicians overtime wages at a rate of at least one and one-half times the regular rate ofpay for

hours worked in excess of forty per week.    See 29 CFR § 778.109 ("The regular hourly rate of

pay of an employee is determined by dividing his total remuneration for employment ... in any

workweek by the total number of hours actually worked by him in that workweek for which such

compensation was paid.").

        I 0.   Plaintiff asserts the FLSA claims on behalf of a putative FLSA collective, defined

as:

               All installation technicians of Defendant at any time from three (3) years prior to
               the filing of this Complaint through the date ofjudgment.

        1I.    Plaintiff seeks to send a Notice pursuant to 29 V.S.C. § 216(b) to all installation

technicians of Defendant permitting them to assert FLSA claims in this collective action by filing

their individual consent forms.

        12.    Plaintiff asserts the PMWA claims on behalf of a putative class pursuant to Fed. R.

Civ. P. 23, defined as:

               All installation technicians of Defendant in the Commonwealth of Pennsylvania at
               any time from three (3) years prior to the filing of this Complaint through the date
               ofjudgment.

        13.    Defendant has willfully and intentionally committed widespread violations of the

above-described statutes and corresponding regulations, in the manner described herein.



                                                3
        Case 2:19-cv-05539-RBS Document 1 Filed 11/25/19 Page 7 of 24




                                  JURISDICTIO~ AND VENUE

        14.     This Court has subject-matter jurisdiction over Plaintiffs FLSA claims pursuant to

28 U.S.C. § 1331 because Plaintiffs claims raise a federal question under 29 U.S.C. § 201, et seq.

        15.     This Court has supplemental jurisdiction over Plaintiffs state law claims pursuant

to 28 C.S.C. § 1367 because those claims derive from a common nucleus of operative facts as

Plaintiffs federal claims.

        16.     The Court has personal jurisdiction over Defendant because it engaged in

systematic and continuous contacts with the Commonwealth of Pennsylvania by, inter alia,

employing individuals to work out of Pennsylvania, including Plaintiff, and Plaintiffs claims arise

out of those contacts.

        17.     Venue is proper in this district pursuant to 28 U.S.C. § 139I(b) and (c) because

Defendant's corporate office is in this district and because a substantial portion of the events that

give rise to the Plaintiffs claims occurred in this district.

                                              PARTIES

        18.     Defendant Antenna Star Satellites, Inc., doing business as Colonial Smart Home

Services, is a privately held satellite communication company with headquarters in the

Commonwealth of Pennsylvania.

        19.     According to the Pennsylvania Department of State website, Defendant maintains

an address at 201 W Church Road Suite 300 King of Prussia, PA 19046 ;\,fontgomery.

        20.     According to the Pennsylvania Department of State website, Defendant has the

following officer: Athanasios Papadopoulos (President and Treasurer), 6790 Market St, Upper

Darby, PA 19082-2431.

        21.     According to its website (https://colonialsmarthome.com/) and the pay records,




                                                   4
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Defendant maintains a principal place of business at 475 S. Henderson Road, King of Prussia, PA

19046.

         22.   Plaintiff Daniel Swanson ("Swanson") is a resident of the County of Monroe and

Commonwealth of Pennsylvania.

         23.   Swanson worked for Defendant as an installation technician from approximately

May 2018 through April, 2019.

         24.   Swanson's written consent to become an FLSA party plaintiff is attached hereto as

Exhibit A.

                                 FACTUAL ALLEGATIONS

         25.   Defendant has operated and controlled an enterprise engaged in commerce as

defined under the FLSA.

         26.   Defendant has generated over $500,000 in revenue per year.

         27.   Defendant has had two (2) or more employees handling, selling, or otherwise

working on goods or materials that have been moved in or produced for commerce.

         28.   Defendant has engaged in ordinary commercial activities within the meaning of the

FLSA that result in sales made or business done.

         29.   Defendant was/is the "employer" of the installation technicians including Plaintiff

within the meaning of29 U.S.C. § 203(d) of the FLSA and 43 P.S. § 333.103(g) of the PMWA.

         30.   The installation technicians including Plaintiff were/are "employees" of Defendant

within the meaning of29 C.S.C. § 203(e)(l) of the FLSA and 43 P.S. § 333.103(h) of the PMWA.

         31.   Defendant "suffered or permitted" the installation technicians including Plaintiff to

work and thus "employed" them within the meaning of 29 C.S.C. §203(g) of the FLSA and 43

P.S. § 333.103(f) ofthe PMWA.




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        32.     Defendant, directly or indirectly, hired the installation technicians including

Plaintiff and determined the rate and method of the payment of their wages.

        33.     Defendant controlled the work schedules, duties, protocols, applications,

assignments and work conditions of the installation technicians including Plaintiff.

        34.     Defendant employed the installation technicians including Plaintiff to perform

installation and maintenance work at the various sites of Defendant's customers.

        35.     The installation technicians including Plaintiff performed primary job duties that

do not fall within any exemptions from overtime under the FLSA and PMW A.

        36.     Defendant classified its installation technicians as independent contractors.

        37.     Defendant issued IRS Form I 099 to their installation technicians.

        38.     Defendant did not issue IRS Form W-2 to their installation technicians.

        39.     The installation technicians including Plaintiff were compensated on a flat-rate

basis by completion of jobs regardless of how many hours they worked per week.

       40.      The installation technicians additionally received small amounts of commission

pay from sales of any soundbars, television mounts, and Wifi routers, etc. to Defendant's

customers.

        41.     Defendant's installation technicians worked over forty hours a week in several

workweeks.

        42.     Plaintiff worked five to six days a week for Defendant in several workweeks.

        43.     Plaintiff worked over forty hours a week for Defendant in several workweeks.

        44.     Defendant did not implement any time-recording systems for work performed by

the installation technicians.

       45.      Defendant failed to pay the installation technicians including Plaintiff overtime




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      Case 2:19-cv-05539-RBS Document 1 Filed 11/25/19 Page 10 of 24




compensation at a rate of at least one and one-half times the regular rate ofpay for hours worked

in excess of forty per week.

       46.     Defendant improperly classified Plaintiff and other installation technicians as

independent contractors.

       47.     Plaintiff and other installation technicians were subjected to the common unlawful

policies and practices of Defendant as stated herein that violated the FLSA and P~WA.

                               THE ECONOMIC REALITY TEST

       48.     Under the economic reality test, employee status turns on whether the individual is,

as a matter of economic reality, in business for himself or herself and truly independent or, rather,

is economically dependent upon finding employment in others.

       49.     The Third Circuit applies an "economic reality" test to determine whether an

individual is an employee or an independent contractor for FLSA purposes.               The factors

considered include:

               (1) the degree of the alleged employer's right to control the manner
               in which the work is to be performed; (2) the alleged employee's
               opportunity for profit or loss depending upon his managerial skill;
               3) the alleged employee's investment in equipment or materials
               required for his task, or his employment of helpers; 4) whether the
               service rendered requires a special skill; 5) the degree of
               permanence of the working relationship; 6) whether the service
               rendered is an integral part of the alleged employer's business.

Donovan v. Dialamerica Mktg., Inc., 757 F.2d 1376, 1384 (3d Cir. 1985).

       50.     The totality of circumstances surrounding the employment relationship between

Defendant and the installation technicians establishes economic dependence by the installation

technicians on Defendant and employee status.         Here, the installation technicians including

Plaintiff are not in business for themselves and truly independent, but rather are economically

dependent upon their employment with Defendant.



                                                 7
        Case 2:19-cv-05539-RBS Document 1 Filed 11/25/19 Page 11 of 24




                            Degree of Control Exercised by Defendant

        51.      The installation technicians did not exert control over any meaningful part of

Defendant's business operations and did not stand as a separate economic entity from Defendant.

        52.      Defendant had complete control over the business operations, including without

limitation advertising and promotion, business and financial relationships with customers, services

offered, and customer volume.

        53.      Moreover, Defendant exercised substantial control over all aspects of the working

conditions of the installation technicians.

                The Installation Technicians' Opportunity For Profit or Loss and
                                    Their Relative Investment

        54.      Defendant managed all aspects of its business operation, including without

limitation, attracting customers, establishing business and customer relationships, maintaining the

premises, establishing the hours of operation, coordinating advertising, and hiring and controlling

the staff.    Defendant provided all necessary capital to open and operate the business.

        55.      Defendant determined and assigned the work jobs to be completed by the

installation technicians.

        56.      Defendant determined the prices charged to customers for different installation and

maintenance services.

        57.      The installation technicians had no responsibility for any aspect of Defendant's

ongoing business risk.

         The Installation Technicians' Investment in Materials and Other Employees

        58.      The installation technicians made no financial investment in Defendant's facilities,

advertising, maintenance, and staffing.       All capital investment and risk belongs to Defendant.

        59.      The installation technicians' investment is limited to their own vehicle and tools



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       Case 2:19-cv-05539-RBS Document 1 Filed 11/25/19 Page 12 of 24




and the company's supplies such as wire fittings, wire, lag bolts, wire fasteners, and connectors

which would be charged and deducted from their paychecks.         Absent Defendant's investment and

provision of the business, the installation technicians would earn nothing.

        60.     The installation technicians did not hire any employees or subcontractors.

                         Degree of Skill Required to Perform the Work

        61.     The installation technicians were not required to have any specialized or unusual

skills to perform their job.   !\.1ost of the skills utilized in performing installation and maintenance

are commensurate with those exercised by ordinary employees in the same capacity.

        62.     The installation technicians did not have the opportunity to exercise the business

skills and initiative necessary to elevate their status to that of independent contractors: they owned

no enterprise, nor did they maintain a separate business structure or facility.

                     Permanence or Duration of the Workin2 Relationship

        63.     Plaintiff worked as an installation technician for Defendant from approximately

May 2018 through April, 2019.

        64.     The installation technicians continued to work for Defendant until they quit or were

terminated similar to an at-will employment arrangement.

              Extent to Which the Work is an Integral Part of Employer's Business

        65.     The installation technicians performed installation and maintenance work integral

to Defendant's home technology and satellite business.

        66.     Defendant's operation is dependent on the installation and maintenance work they

provided for Defendant's customers.

        67.     The primary products, goods and services Defendant is in business to sell consist

of performances provided by the installation technicians.

       68.      Plaintiff and other similarly situated installation technicians were subjected to the


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common unlawful policies and practices of Defendant as stated herein that violated the FLSA and

PMWA.

       69.     Defendant's wrongful acts and/or omissions/commissions, as alleged herein, were

not made in good faith, or in conformity with or in reliance on any written administrative

regulation, order, ruling, approval, or interpretation by the state and/or U.S. Department of Labor

and/or any state department of labor, or any administrative practice or enforcement practice or

enforcement policy of such departments.

       70.     Defendant's violations of the above-described federal and state wage and hour

statutes and regulations were willful, arbitrary, unreasonable and in bad faith.

                           COLLECTIVE ACTION ALLEGATIONS

       71.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

       72.     Plaintiff brings this action pursuant to Section 2 l 6(b) of the FLSA, as an opt-in

representative action, for and on behalf of all installation technicians who have been affected by

Defendant's common unlawful policies and practices which include improperly classifying them

as independent contractors and failing to pay overtime compensation, in violation of the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq. ("FLSA") and attendant regulations at 29 C.F.R. § 516, et

seq.

       73.     Plaintiff brings this action pursuant to 29 C.S.C. § 216(b) of the FLSA on his own

behalf and on behalf of:

               All installation technicians of Defendant at any time from three (3) years prior to
               the filing of this Complaint through the date a/Judgment.

Plaintiff reserves the right to amend this definition as necessary.

       74.     As a result of the Defendant's illegal policies, there were many weeks in which

Defendant failed to compensate members of the FLSA collective at an overtime premium rate of



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not less than one and one-half ( 1.5) times their regular rate of pay for hours worked in excess of

forty per workweek as required by the FLSA.

        75.     Plaintiff brings this collective action against Defendant to recover unpaid overtime

compensation, liquidated damages, and reasonable attorneys' fees and costs pursuant to 29 U.S.C.

§ 216(b).

        76.     The collective action further alleges a willful violation of the FLSA and seeks an

additional, third year of limitations.

        77.     Plaintiff seeks to send Notice to the installation technicians of Defendant permitting

them to assert FLSA claims in this collective action by filing their individual consent forms, as

provided by 29 U.S.C. § 216(b) and supporting case law.

        78.     Certification of the collective action under the FLSA is appropriate because the

employees described herein are "similarly situated" to Plaintiff under 29 U.S.C. § 216(b). The

class of employees on behalf of whom Plaintiff brings this collective action are similarly situated

because: ( a) they had the same job positions and performed the same or similar job duties as one

another on behalf of Defendant; (b) they were subject to the same or similar unlawful policies and

practices as stated herein; and (c) their claims are based upon the same factual and legal theories.

        79.     Plaintiff anticipates that there will be no difficulty in the management of this

litigation. This litigation presents claims under the FLSA, a type that have often been prosecuted

on a class wide basis, and the manner of identifying the collective and providing any monetary

relief to it can be effectuated from a review of Defendant's records.

        80.     Plaintiff and the putative FLSA collective members demand a trial by jury.

                          RULE 23 CLASS ACTION ALLEGATIONS

        81.     Plaintiff re-alleges and incorporates all previous paragraphs herein.




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        82.        Plaintiff also seeks to maintain this action pursuant to Fed. R. ofCiv. P. 23, as an

opt-out class action, on behalf all installation technicians who have been affected by Defendant's

common unlawful policies and practices which include improperly classifying them as

independent contractors and failing to pay overtime compensation, in violation of the Pennsylvania

;vfinimum Wage Act, 43 P.S. § 333.101, et seq. ("P;\tfWA") and attendant regulations, 34 Pa. Code

§ 231.1, et seq.

        83.        Plaintiff brings this Rule 23 class action on his own behalf and on behalf of:

               All installation technicians of Defendant in the Commonwealth of Pennsylvania at
               any time from three (3) years prior to the filing of this Complaint through the date
               ofjudgment.

Plaintiff reserves the right to amend this definition as necessary.

        84.        Plaintiff brings this Rule 23 class action against Defendant to recover unpaid

overtime wages, pre- and post-judgment interest, and reasonable attorneys' fees and costs pursuant

to the PMWA.

        85.        The members of the Rule 23 class are so numerous thatjoinder of all class members

in this case would be impractical. Plaintiff reasonably estimates that there are a substantial number

of class members in the Commonwealth of Pennsylvania.              The Rule 23 class members should

be easy to identify from Defendant's payroll and personnel records.

        86.        There is a well-defined community of interest among the Rule 23 class

members and common questions oflaw and fact predominate in this action over any questions

affecting each individual class member.

        87.        Plaintiffs claims are typical of those of the Rule 23 class members in that they

and all other class members suffered damages as a direct and proximate result of Defendant's

common and systemic payroll policies and practices.            All of the class members were subject




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to the same corporate practices of Defendant, as alleged herein, of improperly classifying

them as independent contractors and failing to pay overtime wages. Any lawsuit brought by

an employee of Defendant would be identical to a suit brought by any other employee for the

same violations and separate litigation would cause a risk of inconsistent results.

       88.     Plaintiff was employed by Defendant in the same capacity as all of the class

members.     All class members were treated the same or similarly by management with respect

to pay or lack thereof. This treatment included, but was not limited to, failure to pay overtime

wages. Thus, there are common questions of law and fact which are applicable to each and

every one of the class members.

       89.     Plaintiff will fully and adequately protect the interests of the class members and

have retained counsel who are qualified and experienced in the prosecution of nationwide

wage and hour class actions. Plaintiff and his counsel do not have interests that are contrary

to, or conflicting with, the interests of the class members.

       90.     Defendant's corporate-wide policies and practices affected all class members

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

class member. Plaintiffs claim arises from the same legal theories as all other class members.

Therefore, this case will be more manageable and efficient as a Rule 23 class action. Plaintiff and

his counsel know of no unusual difficulties in this case.

       91.     Plaintiff and the Rule 23 class members demand a trial by jury.

                                           COVNTI
                            (29 U.S.C. § 216(b) Individual Claims)
              Violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
                                Failure to Pay Overtime Wai:;es

       92.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

       93.     29 U.S.C. § 207(a)(l) provides:



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               [N]o employer shall employ any of his employees who in any
               workweek is engaged in commerce or in the production of goods for
               commerce, or is employed in an enterprise engaged in commerce or
               in the production of goods for commerce, for a workweek longer
               than forty hours unless such employee receives compensation for his
               employment in excess of the hours above specified at a rate not less
               than one and one-half times the regular rate at which he is employed.

       94.     Plaintiff worked over forty hours a week for Defendant in several workweeks.

       95.     Defendant improperly classified Plaintiff as an independent contractor.

       96.     Plaintiff performed primary job duties that do not fall within any exemptions from

overtime under the FLSA.

       97.     Defendant failed to pay Plaintiff overtime compensation at a rate not less than one

and one-half ( 1.5) times the regular rate of pay for hours he worked in excess of forty per

workweek.

       98.     Defendant's conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.

       99.     Because Defendant willfully violated the FLSA, a three (3) year statute of

limitations shall apply to such violation pursuant to 29 U.S.C. § 255(a).

        100.   As a result of Defendant's uniform and common policies and practices described

above, Plaintiff was illegally deprived of overtime compensation earned, in such amounts to be

determined at trial, and is entitled to recovery of such total unpaid amounts, liquidated damages,

reasonable attorneys' fees, costs and other compensation pursuant to 29 U.S.C § 216(b).

                                           COL'NT II
                         (29 U.S.C. § 216(b) Collective Action Claims)
               Violation of the Fair Labor Standards Act, 29 t;.S.C. § 201, et seq.
                                Failure to Pay Overtime Wages

        101.   Plaintiff re-alleges and incorporates all previous paragraphs herein.

        102.   Plaintiff and the FLSA collective members worked over forty hours a week for



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Defendant in several workweeks.

        I 03.    Defendant improperly classified Plaintiff and the FLSA collective members as

independent contractors.

        I 04.    Plaintiff and the FLSA collective performed primary job duties that do not fall

within any exemptions from overtime under the FLSA.

        I 05.    Defendant failed to pay Plaintiff and the FLSA collective members overtime

compensation at a rate not less than one and one-half ( 1.5) times the regular rate ofpay for hours

they worked in excess of forty per workweek.

        106.     Defendant's conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.

        107.     Because Defendant willfully violated the FLSA, a three (3) year statute of

limitations shall apply to such violation pursuant to 29 u.S.C. § 255(a).

        108.     As a result of Defendant's uniform and common policies and practices described

above, Plaintiff and the FLSA collective members were illegally deprived of overtime wages

earned, in such amounts to be determined at trial, and are entitled to recovery of such total unpaid

amounts, liquidated damages, reasonable attorneys' fees, costs and other compensation pursuant

to 29 U.S.C § 216(b).

                                         COt"NTIII
                                     (Individual Claims)
         Violation of the Pennsylvania Minimum Wa2e Act, 43 P.S. § 333.101, et seq.
                               Failure to Pay Overtime Wa2es

        109.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

        I I 0.   Plaintiff worked over forty hours a week for Defendant in several workweeks.

        I 11.    Defendant improperly classified Plaintiff as an independent contractor.

        112.     Plaintiff performed primary job duties that do not fall within any exemptions from



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overtime under the FLSA.

        113.    Defendant failed to pay Plaintiff overtime compensation at a rate not less than one

and one-half ( 1.5) times the regular rate of pay for hours he worked in excess of forty per

workweek.

        114.    Defendant's conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.

        115.    As a result of Defendant's uniform and common policies and practices described

above, Plaintiff was illegally deprived of overtime compensation earned, in such amounts to be

determined at trial, and are entitled to recovery of such total unpaid amounts, pre- and post-

judgment interest, reasonable attorneys' fees, costs and other compensation pursuant to PMWA.

                                         COUNT IV
                           (Fed R. Civ. P. 23 Class Action Claims)
        Violation of the Pennsylvania Minimum Wage Act, 43 P.S. § 333.101, et seq.
                               Failure to Pay Overtime Wages

        116.    Plaintiff re-alleges and incorporates all previous paragraphs herein.

        117.    Plaintiff and the Rule 23 class members worked over forty hours for Defendant in

several workweeks.

        118.    Defendant improperly classified Plaintiff and the Rule 23 class members as

independent contractors.

        119.    Defendant failed to pay Plaintiff and the Rule 23 class members overtime

compensation at a rate not less than one and one-half (1.5) times the regular rate ofpay for hours

they worked in excess of forty per workweek.

        120.    Defendant's conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.

        12 l.   As a result of Defendant's uniform and common policies and practices described



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above, Plaintiff and the Rule 23 class members were illegally deprived of overtime compensation

earned, in such amounts to be determined at trial, and are entitled to recovery of such total unpaid

amounts, pre- and post-judgment interest, reasonable attorneys' fees, costs and other compensation

pursuant to PMWA.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief

against Defendant:

(A)    A declaratory judgment that Defendant's wage practices alleged herein violate the overtime

       provisions of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and attendant

       regulations at 29 C.F.R. § 516, et seq.;

(B)    A declaratory judgment that Defendant's wage practices alleged herein violate the

       Pennsylvania Minimum Wage Act, 43 P.S. § 333.101, et seq. and attendant regulations, 34

       Pa. Code§ 231.1, et seq.;

(C)    An Order for injunctive relief ordering Defendant to comply with the FLSA and PMWA,

       and end all of the illegal wage practices alleged herein;

(D)    Certifying this case as a collective action in accordance with 29 U.S.C. § 216(b) with

       respect to the FLSA claims set forth herein;

(E)    Certifying this action as a class action pursuant to Fed R. Civ. P. 23 with respect to the

       PMWA claims set forth herein;

(F)    Ordering Defendant to disclose in computer format, or in print if no computer readable

       format is available, the names, addresses, e-mail addresses, telephone numbers, dates of

       birth, job titles, dates of employment and locations of employment of all FLSA collective

       and Rule 23 class members;




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(G)   Authorizing Plaintiffs counsel to send notice(s) of this action to all FLSA collective and

      Rule 23 class members, including the publishing of notice in a manner that is reasonably

      calculated to apprise the FLSA collective members of their rights by law to join and

      participate in this lawsuit;

(H)   Designating Lead Plaintiff as the representatives of the FLSA collective and Rule 23 class

      m this action;

(I)   Designating the undersigned counsel as counsel for the FLSA collective and Rule 23 Class

      in this action;

(J)   Judgment for damages for all unpaid overtime wages and liquidated damages to which

      Plaintiff and the FLSA collective members are lawfully entitled under the FLSA, 29 L'.S.C.

      § 201, et seq., and attendant regulations at 29 C.F.R. § 516, et seq.;

(K)   Judgment for damages for all unpaid overtime wages and pre- and post-judgment interest

      to which Plaintiff and the Rule 23 class members are lawfully entitled under the

      Pennsylvania Minimum Wage Act, 43 P.S. § 333.101, et seq. and attendant regulations, 34

      Pa. Code § 231. l, et seq.;

(L)   An incentive award for the Lead Plaintiff for serving as representative of the FLSA

      collective and Rule 23 class in this action;

(M)   Awarding reasonable attorneys' fees and costs incurred by Plaintiff in this action as provided

      by the FLSA and PMWA;

(N)   Judgment for any and all civil penalties to which Plaintiff and the FLSA collective and

      Rule 23 class members may be entitled; and

(0)   Such other and further relief as to this Court may deem necessary, just and proper.

                                       JURY DEMA1'1)




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       Plaintiff, individually and on behalf of all other FLSA collective and Rule 23 class

members, by and through his attorneys, hereby demand a trial by jury pursuant to Rule 38 of the

Federal Rules of Civil Procedure and the court rules and statutes made and provided with respect

to the above entitled claims.



Dated: November 22, 2019

                                              ROWN,LLC
                                             111 Town Square Place, Suite 400
                                            Jersey City, New Jersey 073 l 0
                                            T: (877) 561-0000
                                            F: (855) 582-5297
                                            jtb@jtblawgroup.com

                                            Attorneys for Plaintiff




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         Exhibit A
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                              UNITED STATES DISTRICT COGRT
                            EASTERN DISTRICT OF PENNSYLVANIA

DANIEL SWANSON. individually and on
behalf of others similarly situated,
                                                      Civil Case No.:
               Plaintiff.

vs.

ANTENNA STAR SATELLITES, INC. d/b/a
COLONIAL SMART HOME SERVICES,

               Defendant.


                                       CONSENT TO SUE

       I hereby consent to be a Plaintiff in the Fair Labor Standards Act case captioned above. I
hereby consent to the bringing of any claims I may have under the Fair Labor Standards Act (for
unpaid minimum wages, overtime, liquidated damages, attorney's fees, costs and other relief)
and applicable state wage and hour law against the Defendant(s). I further consent to bringing
these claims on a collective and/or class basis with other current/former employees of
Defendant(s). to be represented by Brown, LLC, and to be bound by any settlement of this action
or adjudication by the Court.


                                                                          11 / 19 / 2019
Signed:
            ----------------                                Dated:


Name:        Daniel Swanson



Address:
                                                   Street


                                            City, State, Zip Code
